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                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                    PARKERSBURG DIVISION


UNITED STATES OF AMERICA,

                                 Plaintiff,

v.                                                CRIMINAL ACTION NO.          6:12-cr-00174-03

SARAH NICOLE MILLER,

                                 Defendant.



                    MEMORANDUM OPINION AND JUDGMENT ORDER


          Pending before the Court is a motion, brought pursuant to 18 U.S.C. ' 3582(c)(2), to reduce

Defendant=s sentence based on a subsequent reduction in the applicable sentencing guideline. On

November 1, 2014, the United States Sentencing Guidelines were amended resulting in reductions

in the guidelines in Section 2D1.1.           The guideline reduction was given retroactive effect.

However, any order reducing the Defendant’s term of imprisonment must have an effective date

of November 1, 2015, or later.       Pursuant to the order entered on April 15, 2015, this case was

designated for Expedited consideration.

          The Court has received the original Presentence Investigation Report (PSI), original

Judgment and Commitment Order and Statement of Reasons, plea agreement, and addendum to

the PSI from the Probation Office, and received any materials submitted by the parties on this

issue.

          By its written and filed response, the United States does not object to the reduction ordered

herein.
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       Based on the foregoing considerations, the Motion is GRANTED. It is ORDERED that

Defendant=s previous sentence be reduced to a period of 60 months, with credit for time served to

date. This order shall become effective on November 1, 2015. This Order is subject to the

prohibition contained within U.S.S.G. '1B1.10(b)(2)(C).

       IT IS SO ORDERED.

       The Court DIRECTS the Clerk to send a copy of this Order to the Defendant and counsel,

the United States Attorney, the United States Probation Office, and the United States Marshal.

                                            ENTER:         April 27, 2015
